Case 2:20-cr-00092-JCC Document 575 Filed 10/12/21 Page i1of1

AO 442 (Rev. II/I1) Arrest Warrant
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UNITED STATES DISTRICT COURT
for the

Western District of Washington

United States of America
¥v.

Case No, 20-092 JCC-11

ALYSHA JONES }

}

= _.. )

“Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) ALYSHA JC JONES _ oe __ 4
who is accused of an offense or or violation based on the 1e following document filed with the court:

© Indictment GS Superseding Indictment © Information ©) Superseding Information © Complaint
OC Probation Violation Petition CI Supervised Release Violation Petition  OViolation Notice O Order of the Court

This offense is briefly described as follows:

Count 1; Conspiracy to Distribute Controlled Substances, 21 U.S.C. §§ 841(a}(1), 841(b}1)(A), and 846.
Count 2: Possession with intent to Distribute Methamphetamine, 18 U.S.C. § 2; 21 U.S.C. §§ 841(a){1), 841(b)(1)(A).

Date: 04/01/2021

 

Issuing officer's signature

City and state: _ Seattle, Washington Michelle L. Peterson, United States Magistrate Judge
Printed name and title

 

 

Return

 

This warrant was received on (date) 4 - [ - 20 © 2.\_, and the person was arrested on (dat) (O-6 ~ 2 |
at (city andstate) Sf wa Wwea i, bh

Date: _/O- 7-202) __ Kutt 2S
Arresting officer's signature

_ _fkanerEy £ FinK Desm _

Printed name and title

 

 

 

 
